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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

UNITED STATES OF AMERICA                      §
                                              §
                     Government,              §
                                              §
VS.                                           §   CRIMINAL NO. H-05-337
                                              §
ANGELA ARMSTRONG, et al.,                     §
                                              §
                     Defendants.              §

                                          ORDER

       Angela Armstrong has been convicted of the charged offenses. She was allowed to

remain on bond pending sentencing because this court concluded that, given the conditions

of release, she was neither a flight risk nor a danger. The conditions imposed included that

she could not travel outside Harris County, Texas. Armstrong, citing financial difficulties,

now asks this court to allow her to move to live in Bellville, Texas in a garage apartment at

the residence of her ex-husband. This is in Austin County, approximately 60 miles from

Harris County. The arrangement would require Armstrong to travel frequently between

Houston and Bellville, to visit her pretrial services officer and for work.

       The government opposes the motion to amend the conditions of release pending

sentencing. This court agrees that there are several problems in the proposed amended

conditions and denies the motion.

       First, the place Armstrong proposes to live is a garage apartment in the home of her

ex-husband, who was himself involved in the activities that were the basis of Armstrong’s
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conviction. Both Armstrong and her ex-husband are parties to a civil case arising out of the

same activities. Second, the distance involved is considerable and would require – not

merely permit – Armstrong to travel for extended periods, making supervision more difficult.

Third, the information about her work situation and her gambling activities while on pretrial

release raise additional concerns about her full compliance with conditions.

       Armstrong’s motion to amend conditions of release is denied. The government’s

motion to reconsider detention is also denied.

              SIGNED on July 10, 2007, at Houston, Texas.


                                       ______________________________________
                                                    Lee H. Rosenthal
                                               United States District Judge




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